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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         PANAMA CITY DIVISION

KAREN STRIPLING,

       Plaintiff,

v.                                                   Case No. 5:20cv86-TKW-MJF

FLORIDA DEPARTMENT OF
ELECTIONS,

     Defendant.
______________________________/

                                        ORDER

      This case is before the Court based on the magistrate judge’s Report and

Recommendation (Doc. 27). No objections were filed. Upon due consideration of

the Report and Recommendation and the case file, the Court agrees with the

magistrate judge’s determination that this case should be dismissed based on

Plaintiff’s failure to pay the filing fee and failure to comply with court orders.

      Accordingly, it is ORDERED that:

      1.     The Report and Recommendation is adopted and incorporated by

             reference in this Order.

      2.     This case is DISMISSED, and the Clerk shall close the file.
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DONE and ORDERED this 19th day of October, 2020.

                        T. Kent Wetherell, II
                       T. KENT WETHERELL, II
                       UNITED STATES DISTRICT JUDGE




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